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BY ECF AND E-MAIL
The Honorable Katherine Polk Failla
United States District Judge
Southern District of New York
40 Foley Square, Room 2103
New York, New York 10007


       Re:        Claridge Associates, LLC, et al. v. Schepis, et al., 15-CV-4914 (KPF)

Dear Judge Failla:


       This firm represents Defendants Anthony Schepis, Frank Canelas, Jr., Ruth Canelas, and
Northeast Capital Management, LLC in the above-referenced action. We write, with the consent
of Plaintiffs' counsel, to comply with Your Honor's January 2, 2018 Order (ECF Dkt. No. 109)
directing the parties to submit a joint letter apprising the Court of the status of the related
arbitration, captioned Claridge Assocaites, LLC and Jamiscott, LLC v. Schepis and Canelas,
AAA Case No. 01 17 00001458 (the "Arbitration").

       Pursuant to the Court's February 8, 201 8 Order (ECF Dkt. No. Ill), the Parties stipulated
to an extension of Defendants'/Respondents' deadline to file their opening papers. On February
23, 2018, Defendants/Respondents submitted their opening papers to Arbitrator Silberberg. On
March 13, 2018, Plaintiffs/Claimants requested additional time to submit opposition papers, to
which Defendants/Respondents consented. The basis for Plaintiffs'/Claimants' request was
previously unexpected motion practice and an evidentiary hearing in the related Connecticut
litigation. Thereafter, a request was made to the AAA and Arbitrator Silberberg granted that
request.


       Accordingly, the current briefing schedule is as follows:


             1.     On or before April 6, 2018, Plaintiffs/Claimants shall submit their responsive
                    brief.


             2.     On or before April 20, 2018, Defendants/Respondents shall submit their reply
                    brief.


       The schedule was extended to some degree to accommodate counsel's pre-planned
vacations. We are available at the Court's convenience if You have any questions or require
additional information.
                                                        Respectfully submitted,



                                                        Sarah E. Coleman
cc: All parties of record (by ECF)
